Case 22-10695-pmm   Doc 117-5 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit E Page 1 of 9
Case 22-10695-pmm   Doc 117-5 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit E Page 2 of 9
Case 22-10695-pmm   Doc 117-5 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit E Page 3 of 9
Case 22-10695-pmm   Doc 117-5 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit E Page 4 of 9
Case 22-10695-pmm   Doc 117-5 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit E Page 5 of 9
Case 22-10695-pmm   Doc 117-5 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit E Page 6 of 9
Case 22-10695-pmm   Doc 117-5 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit E Page 7 of 9
Case 22-10695-pmm   Doc 117-5 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit E Page 8 of 9
Case 22-10695-pmm   Doc 117-5 Filed 05/13/22 Entered 05/13/22 08:41:43   Desc
                        Exhibit Exhibit E Page 9 of 9
